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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                         CASE NO. 2:14-CR-206 JAM
11
                                 Plaintiff,            GOVERNMENT’S MOTION TO DISMISS COUNT
12                                                     ONE AND THE FORFEITURE ALLEGATIONS IN
                           v.                          THE INDICTMENT AS TO DEFENDANT
13                                                     RICHARD O’CONNELL AND ORDER
     RICHARD O’CONNELL,
14
                                 Defendant.
15

16
            The United States of America, through its attorney of record, Assistant United States Attorney
17
     Paul A. Hemesath, hereby moves for an order dismissing, with prejudice, Count One and the Forfeiture
18
     Allegations in the indictment against defendant RICHARD O’CONNELL, pursuant to Federal Rule of
19
     Criminal Procedure 48(a).
20

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22
     Dated: October 5, 2016                                 PHILLIP A. TALBERT
23                                                          Acting United States Attorney
24                                                  By: /s/ PAUL A. HEMESATH
                                                        PAUL A. HEMESATH
25                                                      Assistant United States Attorney
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      MOTION TO DISMISS                                 1
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                                         FINDINGS AND ORDER
 1
           In light of the government’s motion, Count One and the Forfeiture Allegations in the indictment
 2
     against defendant RICHARD O’CONNELL are hereby DISMISSED with prejudice.
 3

 4                                                 /s/ John A. Mendez
                                                   THE HONORABLE JOHN A. MENDEZ
 5                                                 UNITED STATES DISTRICT COURT JUDGE
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      [PROPOSED] ORDER
